      Case 1:21-cv-03354-BAH           Document 142        Filed 12/18/23      Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 RUBY FREEMAN, et al.,

                        Plaintiffs,                 Civil Action No. 21-3354 (BAH)

                       v.                           Judge Beryl A. Howell

 RUDOLPH W. GIULIANI,

                        Defendant.


                                      FINAL JUDGMENT

       Upon consideration of the Joint Stipulation Regarding Entry of Final Judgment, ECF No.

138, agreed to jointly by the parties, the entry of default judgment on liability against defendant

Rudolph W. Giuliani on plaintiffs’ well-pleaded claims for defamation, intentional infliction of

emotional distress, and civil conspiracy to commit those torts, as a sanction for defendant’s

sanctionable “willful shirking of his discovery obligations in anticipation of and during this

litigation,” Freeman v. Giuliani, No. 21-cv-3354 (BAH), 2023 WL 5600316, at *2 (D.D.C. Aug.

30, 2023), pursuant to FEDERAL RULES OF CIVIL PROCEDURE 37(e)(2)(C) and 37(b)(2)(A)(vi); see

also Default Judgment Order, ECF No. 93, and the jury verdict on the amount of damages owed

to plaintiffs by defendant, see ECF No. 135, it is hereby ORDERED, ADJUDGED, and

DECLARED as follows:

   1. Plaintiffs Ruby Freeman and Wandrea’ Moss shall recover from the defendant

       Rudolph W. Giuliani damages in the amount of $145,969,000.00, plus post-

       judgment interest at the rate of 5.01 % per annum, along with costs.

   2. Plaintiffs Ruby Freeman and Wandrea’ Moss shall recover from the defendant

       Rudolph W. Giuliani attorney’s fees as follows:
                                                1
  Case 1:21-cv-03354-BAH           Document 142         Filed 12/18/23     Page 2 of 3




      a. in the amount of $89,172.50, pursuant to this Court’s Order dated August

          30, 2023, ECF No. 93, plus post-judgment interest accruing from July 25,

          2023, at the rate of 5.33% per annum;

      b. in the amount of $43,684, pursuant to this Court’s Order dated August 30,

          2023, ECF No. 93, plus post-judgment interest accruing from September

          20, 2023, at the rate of 5.42% per annum; and

      c. in the amount of $104,256.50, pursuant to the Court’s September 22, 2023

          Minute Order, plus post-judgment interest accruing from October 6, 2023,

          at the rate of 5.46% per annum.

3. It is hereby DECLARED pursuant to 28 U.S.C. § 2201(a), as between plaintiffs

   and defendant, as follows:

      a. It is hereby DECLARED (1) that the Actionable Statements set forth in

          the Amended Complaint, ECF No. 22, are false; (2) that those statements

          are defamatory and defamatory per se; (3) that those statements were of

          and concerning plaintiffs; (4) that defendant made those statements with

          actual malice; (5) that defendant published those statements to third parties

          without privilege; and (6) that those statements caused plaintiffs harm;

      b. It is further DECLARED (1) that defendant Giuliani engaged in extreme

          and outrageous conduct which (2) intentionally and maliciously (3) caused

          the plaintiffs to suffer severe emotional distress;

      c. It is further DECLARED (1) that defendant Giuliani entered into an

          agreement on or before December 3, 2020, with Donald J. Trump, Christina

          Bobb, Herring Networks, Inc., d/b/a OAN, Robert Herring, Charles



                                             2
      Case 1:21-cv-03354-BAH         Document 142         Filed 12/18/23      Page 3 of 3




             Herring, Chanel Rion, and members of the Trump 2020 Presidential

             Campaign, including members of the Trump Legal team headed by

             Giuliani, who caused statements to be published about plaintiffs or

             participated in such publications, (2) to participate in defamation of

             and intentional infliction of emotional distress on plaintiffs, and (3) that

             plaintiffs were injured by unlawful overt acts performed by parties to the

             agreement pursuant to, and in furtherance of, the common scheme.

         d. It is further DECLARED that defendant’s conduct was intentional,

             malicious, wanton, and willful, such that plaintiffs are entitled to punitive

             damages.

SO ORDERED.

Date: December 18, 2023

                                                    __________________________
                                                    BERYL A. HOWELL
                                                    United States District Judge




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